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15                            IN THE UNITED STATES DISTRICT COURT

16                                     FOR THE DISTRICT OF ARIZONA

17
     United States of America,                       Case No. 2:18-cr-00422-PHX-DJH
18

19                        Plaintiff,                 REPLY IN SUPPORT OF MOTION TO
     vs.                                             PARTIALLY VACATE SEIZURE
20                                                   WARRANTS AND RELEASE FUNDS
21   Michael Lacey, et al.,                          TO DEFENDANTS

22                        Defendants.                (Oral argument requested)
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 1          The government’s response asks the Court to ignore the law, which only allows the
 2   government to seize tainted property pre-trial. The government wrongly argues that Defendants
 3   should not be permitted to challenge its seizures – even where it has seized untainted property –
 4   short of a Monsanto showing. While the government is completely wrong on the law, the fact is
 5   Defendants have an urgent need for funds – both to pay mounting defense costs (due in part by a
 6   mistrial caused entirely by the government’s misconduct), and in some cases, for basic living
 7   expenses. The government does not even attempt to address the comprehensive evidence that
 8   Defendants have offered proving that certain assets are not traceable to any alleged criminal
 9   activity . Instead, the government brushes off the Defendants’ motion and argues that it had
10   probable cause to seize those funds for reasons that include, incredibly, its own cooperator’s
11   “consent” to “forfeit” funds in attorney retainer accounts set aside for these Defendants’ defense,
12   while allowing him to keep identical funds designated for his own defense in both criminal and
13   civil cases. The government’s actions have grave constitutional implications under the Sixth
14   Amendment, and Defendants respectfully ask this Court to release the assets identified in their
15   Motion (Dkt. 1366) (“Mot.”).
16   I.     THE LAW DOES NOT REQUIRE A MONSANTO SHOWING WHERE THE
            GOVERNMENT SEIZES UNTAINTED ASSETS; NEVERTHELESS,
17          DEFENDANTS CAN DEMONSTRATE THEIR OVERWHELMING NEED
18          FOR FUNDS TO PAY FOR THEIR DEFENSE.
            A.      Luis Applies Because the Government Seeks Continued Restraint of
19
                    Defendants’ Untainted Property.
20          To seize these assets, the government must trace the property at issue to the crimes alleged.
21   Mot. at 7 (citing Luis v. United States, 578 U.S. 5, 136 S. Ct. 1083, 1090-92 (2016); Honeycutt v. United
22   States, 581 U.S. ___, 137 S. Ct. 1626, 1633 (2017); Kaley v. United States, 571 U.S. 320, 323-24 (2014)).
23   The restraint of untainted assets, especially those needed to retain counsel, greatly prejudices
24   criminal defendants and has the potential to violate their Sixth Amendment right to counsel of
25   choice. See Kaley, 571 U.S. at 336-37 (right to retain counsel of choice prior to a criminal trial is of
26   “vital interest” to defendants and is the “root meaning” of the Sixth Amendment that “matters
27   profoundly,” and the wrongful deprivation of this right is a “structural error” that “pervades the
28   entire trial”); United States v. Bissell, 866 F.2d 1343, 1354 (11th Cir. 1989).
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 1          The government incorrectly insists that the Defendants cannot even challenge the restraint
 2   of these assets without proving, under Monsanto, that they have a need for funds to pay for their
 3   defense. See Dkt. 1384 (“Gov’t Opp’n”) at 6. But the government mischaracterizes the controlling
 4   law and ignores the Supreme Court’s decision in Luis. In Luis, the Supreme Court clarified that
 5   Monsanto (and its companion case Caplin & Drysdale) “relied critically upon the fact that the
 6   property at issue was ‘tainted,’ and that title to the property therefore had passed from the
 7   defendant to the Government before the court issued its order freezing (or otherwise disposing
 8   of) the assets.” Luis, 136 S. Ct. at 1090. United States v. Chamberlain, 868 F.3d 290, 291 (4th Cir.
 9   2017) (finding that its reliance on Monsanto in interpreting criminal forfeiture statute to embrace
10   both tainted and untainted assets “now appears misplaced” given the “important distinction”
11   between tainted and untainted assets articulated in Luis). Despite what the government claims, the
12   law does not allow it to seize untainted funds and does not put the onus on Defendants to prove
13   that they need the funds for counsel as a precondition to challenging that unlawful seizure. If that
14   were true, the government could seize assets pretrial with no justification whatsoever, and criminal
15   defendants would have no way to challenge that unlawful seizure without first demonstrating the
16   need for funds to pay counsel. That is not the law, and it never has been the law. The government
17   is not authorized to seize untainted funds pretrial – period. Honeycutt, 137 S. Ct. at 1632 (finding
18   that forfeiture statutes limit forfeiture to tainted property, “that is, property flowing from … or
19   used in … the crime itself”); Luis, 578 U.S. at 136 S. Ct. 1083, 1090-92 (2016) (finding that a
20   criminal defendant’s untainted assets belong to the defendant and are protected from government
21   interference pre-trial); United States v. Thompson, 990 F.3d 680, 689-90 (2021) (holding that “[u]nder
22   Section 981, forfeiture cannot extend beyond the tainted property and proceeds traceable to it”).
23          Here, just like in Luis, the government seeks continued restraint of Defendants’ “untainted
24   property, without any showing of any equivalent government interest [to that shown by the
25   government in Monsanto and Caplin] in that property.” Id. at 1092 (emphasis added). In both Luis
26   and more recently in Honeycutt, the Supreme Court held that defendants have a right to challenge
27   the pretrial restraint of property on the ground that it is not related to the alleged criminal activity,
28   without having to demonstrate a need for the assets to pay counsel. See Honeycutt, 137 S. Ct. at

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 1   1633 (“§ 853(e)(1) authorizes pretrial freezes ‘to preserve the availability of property described in
 2   subsection (a) ... for forfeiture.’ Pretrial restraints on forfeitable property are permitted only when
 3   the Government proves, at a hearing, that (1) the defendant has committed an offense triggering
 4   forfeiture, and (2) ‘the property at issue has the requisite connection to that crime.’”) (quoting
 5   Kaley, 571 U.S. at 323-24); Luis, 136 S. Ct. at 1090.
 6          Furthermore, courts have reviewed probable cause findings even where no Sixth
 7   Amendment right is implicated. See, e.g., United States v. Bikundi, 125 F. Supp. 3d 178, 190-91
 8   (D.D.C. 2015) (holding that defendant had a due process right to pretrial judicial review of the
 9   traceability of assets seized pursuant to probable cause warrants and subject to a grand jury finding
10   of probable cause of forfeitability where no Sixth Amendment right was at stake, but defendant
11   needed assets for household support). As such, this Court’s decision to review the government’s
12   seizure of Defendants’ un tainted assets does not hinge on them invoking the Sixth Amendment.
13          The government offers nothing – beyond an overbroad and conclusory claim that it has
14   probable cause to seize assets – to establish that the four limited categories of assets Defendants
15   seek to have released are traceable to any alleged criminal activity. The government argues that
16   Monsanto applies simply because a magistrate judge in the Central District of California found that
17   there was probable cause to issue warrants to seize “a range of assets involved in or traceable to
18   Backpage’s operations.” Gov’t Opp’n at 2. But the government fails to show that it has probable
19   cause to believe the four specific subsets of assets that Defendants seek to have released are
20   traceable to the alleged criminal activity. Nor is the government correct to suggest that the “law
21   of the case” precludes Defendants’ motion. Gov’t Opp’n at 8-9. This Court has never ruled that
22   these specific four categories of assets are tainted or that the government has a basis upon which
23   to seize them pre-trial. The Order that the government asserts Defendants are attempting to
24   “sidestep” merely held that the Defendants’ claims regarding the government’s seizures “should
25   be taken up” in the Central District of California, stating in dicta that “this case, at least at this
26   point, is much more like Monsanto and Caplin.” Dkt. 559 at 6-7 (emphasis added). But the case
27   now is at a different point and the government has now affirmatively stated that it does “not
28   object” to the pre-trial seizure of these assets being taken up in this Court (Dkt. 1366-12 at 4) and

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 1   refuse to address anything with Defendants given this pending Motion (see, e.g., Mot. at 2, n.6).
 2          Moreover, to the extent the government argues that a grand jury’s finding of probable cause
 3   precludes Defendants’ motion, the Supreme Court has specifically reserved judgment on the
 4   availability of pretrial review of a grand jury’s probable cause finding as to whether the property at
 5   issue has a requisite connection to the crime. Kaley, 134 S. Ct. at 1095 & n.3. In doing so, the
 6   Supreme Court noted that the tracing of assets is a “technical matter far removed from the grand
 7   jury’s core competence and traditional function.” Id. at 1099 n.9. In any event, no grand jury has
 8   made such a finding in this case. Further, given the constitutional rights at stake and the prejudice
 9   to Defendants, judicial review of the government’s seizures of Defendants’ untainted assets is
10   critical. The need for review is heightened by the fact that the probable cause findings referenced
11   in the government’s Opposition were made ex parte, “increas[ing] the risk of an erroneous finding
12   of probable cause about forfeitability, when the burden of establishing such probable cause
13   indisputably rests with the government.” Bikundi, 125 F. Supp. at 187.
14          B.     Defendants Require the Release of Funds to Pay for Defense Costs and, in
                   Some Cases, Living Expenses.
15
            While Defendants have a right to judicial review of the traceability of their seized untainted
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     assets separate from the Sixth Amendment, Defendants show through sworn declarations,
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     submitted in camera and under seal, that they have a dire need for these funds to pay for their
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     defense, and that they will use these funds for that purpose. These declarations directly address
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     the questions that the government raised regarding Defendants’ ability to fund their defense. See
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     Gov’t Opp’n at 11. As set forth in the declarations, defense counsel are currently owed substantial
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     amounts of earned legal fees for work that has already been done and costs that have already been
22
     incurred. The declarations also provide an estimate for the cost of a second trial, which is an
23
     unexpected additional expense Defendants will incur entirely due to the government’s misconduct,
24
     to the extent the case is not dismissed.
25
             The government argues that because Defendants have retained a “veritable who’s who of
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     the Southern California bar,” there are no Sixth Amendment issues. But the experience and
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     reputation of the counsel that Defendants have chosen to represent them is irrelevant to whether
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 1   the government has violated Defendants’ Sixth Amendment right to counsel of choice. Defense
 2   counsel were retained well before the government seized the vast majority of Defendants’ assets
 3   that would have been used to pay their defense costs. And despite not being paid, Defendants’
 4   lawyers have continued to defend their clients, and have done so in the face of numerous recusals
 5   and a mistrial caused by the government’s misconduct, which have made this case even more
 6   expensive to defend. If funds are not released to pay Defendants’ counsel, they may need to
 7   withdraw from the representation because they simply cannot afford to continue the
 8   representation in light of the mounting costs. This is exactly the Sixth Amendment concern that
 9   that Supreme Court addressed in Luis. See Luis, 136 S. Ct. at 1089 (“the government would
10   undermine the value of [defendant’s Sixth Amendment] right by taking from [defendant] the ability
11   to use the funds she needs to pay for her chosen attorney”).
12   II.      THE GOVERNMENT LACKS PROBABLE CAUSE TO SEIZE THE LIMITED
              CATEGORIES OF ASSETS DEFENDANTS SEEK TO HAVE RELEASED.
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           When the government finally addresses the four specific categories of assets at issue, it gives
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     Defendants’ evidence short shrift and reveals just how little it knows about the tens of millions of
15
     dollars it haphazardly seized from Defendants. Rather than rebut the evidence and sworn
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     declarations offered by Defendants, the government responds with innuendo. For example,
17
     calling a check a “Tainted Check” or an account a “pass-through” account doesn’t make it so. And
18
     in response to an unrebutted sworn declaration establishing that the over $10 million in attorney
19
     retainer funds the government seized were in fact earmarked for the defense of cases just like this
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     one and were sourced from, among other places, untainted insurance proceeds from one of the
21
     largest insurers in the country, the government merely claims that Backpage pled guilty and stops
22
     there.   As to the funds the government admits came from non-adult advertisements, the
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     government fudges the numbers – it has never claimed, as it now speculates, that “100 percent”
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     of Backpage’s revenue came from prostitution ads. Gov’t Opp’n at 16. And yes, contrary to the
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     government’s cavalier response, in the face of over $100 million in seizures, 5% or 10% makes a
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     difference where the government has seized virtually all of Defendants’ assets. Id. Finally, as to
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     the Foreign Loan Payments, again, in the face of sworn declarations and contemporaneous legal
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 1   and accounting documents establishing that (a) the Backpage business was sold in two seller-
 2   financed transactions, one relating to Backpage’s domestic operations and the other relating to its
 3   foreign operations; (b) the foreign entity was engaged only in foreign operations; and (c)
 4   Defendants received separate streams of loan payments from the domestic and foreign entities,
 5   the government again deigns not to engage with these fact-based arguments, instead responding
 6   with insults, like calling Defendants’ argument a “fiction” or referring to the foreign loan
 7   agreement as “so-called international notes.” Gov’t Opp’n at 17.
 8        It is nothing short of stunning that the federal government would indiscriminately seize funds
 9   that are demonstrably untethered to any criminal conduct, and then respond so flippantly in the
10   face of evidence that it overreached. The only “fiction” here is the government’s purported
11   diligence in seizing these assets.
12          A.      Defendants’ Attorney Retainer Accounts Are Not Traceable to Criminal
                    Activity and the Government Has not Shown Otherwise.
13
            The government does not even attempt to trace the attorney retainer accounts to criminal
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     activity, nor did it ever obtain a seizure warrant that endeavored to do so. It also ignores a sworn
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     declaration establishing: (a) Defendants directed loan payments from their sale of Backpage to be
16
     paid to Rusing Lopez & Lizardi (“RLL”) to be kept in trust in anticipation of future litigation—
17
     and more than 60% of the funds directed to RLL were payments on the foreign loan; and (b) about
18
     75% of the $2.9 million the government seized from Perkins Coie was insurance proceeds from
19
     Traveler’s insurance company. At a minimum, those retainer funds should be released.
20
            The government’s main response is that Carl Ferrer, Backpage’s CEO, pled guilty on behalf
21
     of himself and Backpage, and “forfeited” these assets. See Gov’t Opp’n at 2, 14. In other words,
22
     the government claims that it need not meet its burden to trace attorney retainers designated for
23
     Defendants’ legal fees because its own cooperating witness – who will testify against Defendants
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     and receive a reduced sentence – “consented” to their forfeiture. And even worse, the government
25
     wrongly claims that Defendants have no right to challenge that seizure because they are merely
26
     third parties asserting an interest in those funds. This claim violates basic principles of due process.
27
            Criminal forfeitures are in personam, which means a defendant can only forfeit his own
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 1   interest in property. See United States v. Daugerdas, 892 F.3d 545, 548 (2d Cir. 2018). Where a
 2   defendant has no interest in an asset, he has no incentive to challenge its forfeiture. In fact, courts
 3   have recognized that a defendant who “consents” to the forfeiture of someone else’s assets actually
 4   enjoys a windfall because someone else’s assets will be used to reduce his own obligation to satisfy
 5   a forfeiture judgment. See id. at 557 (“The defendant will not end up with the property either way,
 6   and he might actually get a windfall if the money he owes is paid off with someone else’s
 7   property”). That incentive is even stronger for a defendant like Ferrer, who is testifying for the
 8   government as a cooperating witness, because he must follow the government’s instructions in
 9   order to receive 5K credit. Under 21 U.S.C. §853(n), third parties can assert an interest in property
10   subject to forfeiture in a criminal case and have a right to an ancillary hearing, typically held after
11   the defendant’s sentencing. That is because third parties are generally not permitted to intervene
12   in a criminal case. But here, the parties who can assert that interest are Ferrer’s co-defendants who
13   have been charged as part of the same criminal matter – not third parties. 1 Moreover, because
14   Ferrer is testifying for 5K credit, the government has sole control over when he will be sentenced,
15   which will presumably be after Defendants’ criminal trial is over. In fact, the government has
16   continued Ferrer’s sentencing seven times. Case 2:18-cr-00464-DJH, Dkt. 111. Preventing
17   Defendants from challenging the seizure and forfeiture of their attorneys’ retainer accounts –
18   money that they need to defend themselves in this criminal case – until after their criminal trial
19   raises grave constitutional concerns under the Sixth Amendment and as a matter of due process.
20   Courts have found that, in some cases, postponing the ability of claimants to challenge a pretrial
21   restraint until after forfeiture has been ordered (at sentencing) violates due process. See United
22   States v. Crozier, 777 F.2d 1376, 1382-84 (9th Cir. 1985) (finding that section 853(e)’s provision for
23   restraining orders on the filing of an indictment violates due process by not allowing a criminal
24   defendant or a third party to challenge a restraining order unless and until after forfeiture has been
25

26   1       Defendants filed third-party petitions shortly after the government included them in
     Ferrer’s Preliminary Order of Forfeiture because they had to preserve their ability to challenge the
27   forfeiture if they were forced to litigate their interest through an ancillary hearing. The statutory
28   deadline for filing a petition is 30 days after a claimant receives notice of the Preliminary Order of
     Forfeiture. See 21 U.S.C. § 853(n)(2).
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 1   ordered); United States v. Siegal, 974 F. Supp. 55, 58 (D. Mass. 1997) (finding that the due process
 2   clause required the court to afford third parties “a timely pretrial opportunity to challenge the
 3   restraining order as ‘clearly improper’ on the ground the property was not available for forfeiture”
 4   because otherwise they would be unable to challenge the restraint for another six months).
 5          The government’s actions are especially troubling because Ferrer quite obviously had no
 6   interest in funds that were specifically set aside for Defendants’ legal expenses. In fact, the
 7   government allowed Ferrer to access and use $2,310,000.00 of similar funds that were set
 8   aside for his defense and the defense of his companies – not only in the criminal case but also
 9   in numerous civil cases (where there is no Sixth Amendment right to counsel) – even though
10   the funds had exactly the same source and purpose as the funds in Defendants’ attorney retainer
11   accounts. Case 2:18-cr-00464-DJH, Dkt. 23. The government also agreed not to forfeit Ferrer’s
12   Frisco, Texas home, on the grounds that it was not purchased with funds deriving from Backpage
13   (Case 2:18-cr-00464-DJH, Dkt. 7), but restrained real estate owned by Defendants – acquired long
14   before they earned money from Backpage – on the theory that their payment of incidental expenses
15   (such as taxes) related to those properties with funds derived from Backpage rendered them tainted
16   assets subject to forfeiture. The government’s hypocrisy is astounding – the Court should not
17   condone such disparate treatment, merely because Ferrer is a cooperating witness.
18          B.     The Government Fails to Trace the Funds in the VMG Account to Alleged
                   Criminal Activity.
19
            The unrebutted facts establish that the VMG depository account is not traceable to any
20
     alleged criminal activity, and the government has never made a showing to the contrary.
21
     Defendants have demonstrated that the only deposits into the VMG depository account came
22
     from the sale of Defendants’ print newspaper businesses and were VMG’s payments on the
23
     corresponding note or rent to sublease an office building, both of which are completely unrelated
24
     to Backpage. Brunst Decl., Exh. D. (Dkt. 1366-6).
25
            Calling the seizure of these funds a “closer question” appears to be the government’s way
26
     of admitting that it was wrong to seize these funds. Gov’t Opp’n at 16. And calling something a
27
     money laundering transaction or a “pass-through account” does not make it so. The government
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 1   feigns ignorance, calling Defendants’ evidence “newly-disclosed.” Id. at 16. Again, just because
 2   the government ignored evidence to the contrary in seizing funds it should not have seized in the
 3   first place is not an actual response to Defendants’ unrebutted evidence. And no, these are not
 4   matters for “civil discovery” or “trial” -- the government has already agreed to litigate the seizure
 5   of these assets now, before this Court (Dkt. 1366 at 2 n.6).
 6          As to the purported “Tainted Check,” the government’s argument is a non-starter. That
 7   check merely was reimbursed to VMG for legal fees that VMG incurred in connection with civil
 8   suits related to Backpage.com. Declaration of John Brunst in Support of Reply, Exh. A. As part
 9   of the November 8, 2012 sale agreement between Village Voice Media Holdings (“VVMH”) and
10   VMG, VVMH (which held Backpage and was owned by Defendants) agreed to indemnify VMG
11   against any claims relating to Backpage (VVMH did not sell Backpage to VMG; it only sold the
12   newspapers). See Dkt. 1366-3 (purchase agreement) at Article VII. And as the government admits,
13   the reimbursement check was not even paid from the seized account in question . In short,
14   there is zero evidence that the reimbursement somehow rendered the VMG’s bank account a
15   “pass-through” account. The government’s argument is baffling – it points to a $83,063.12 check
16   paid to indemnify VMG for legal expenses, a check that did not touch the seized account, and
17   $944,729.25 in separate, admitted loan and rent payments from VMG regarding Defendants’ seller-
18   financed sale of newspaper businesses, and asks the Court to rule that these two sets of distinct,
19   unrelated transactions, neither of which was illegal to begin with, somehow equate to money
20   laundering and taint the entire seized account. Indeed, for the government’s specious argument to
21   be true, Voice Media Group, a media company that owns papers like the Phoenix New Times, would
22   have to be a money launderer. That obviously is not the case, and there is not, nor can there be,
23   any allegation that Defendants “controlled” VMG.
24          C.     The Government Fails to Show That Foreign Loan Payments Are Traceable
                   to Alleged Criminal Activity.
25
            Defendants have shown, through detailed documentation and contemporaneous
26
     accounting records, that Backpage’s post-sale foreign operations generated a separate stream of
27
     loan payments totaling tens of millions of dollars. See Brunst Decl., Exh. I (Dkt. 1366-11). That
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 1   is not a “fiction” – it is what the unrebutted evidence shows. Gov’t Opp’n at 17. The government
 2   acknowledges that, with respect to the assets seized relating to revenues from Backpage.com’s
 3   operations outside of the United States, “what matters is where the payments [on international
 4   notes] were sourced from.” Id. at 17. But the government ignores that principle and fails to offer
 5   any evidence establishing that such note payments were sourced from or traceable to alleged illegal
 6   activity in the United States. It is not Defendants that ask the Court to rely on an unproven
 7   “assumption,” (id.), but rather the government that asks the Court, without a shred of evidence, to
 8   assume that every single dollar generated by Backpage’s post-sale foreign operations was generated
 9   from unlawful activity in the United States. It does not matter that Carl Ferrer had Backpage enter
10   a guilty plea stating that the “majority” of Backpage’s ads were ads for prostitution. Id. at 17. The
11   Travel Act is not an extraterritorial statute: it does not proscribe business enterprises involved in
12   alleged prostitution in foreign countries. And in any event, the government offers nothing to show
13   that loan payments tied to the sale of Backpage’s foreign operations came from a domestic source.
14          The government’s only response is a reference to the vague allegations that Backpage was
15   “fool[ing]” credit card companies, “mischaracterizing” the source of its revenue, and that the
16   Defendants still controlled Backpage after its sale (if that were true, then how could Ferrer
17   unilaterally plead Backpage guilty, while Defendants continue to vigorously contest the charges
18   against them?). These allegations say nothing about Backpage’s post-sale foreign operations or the
19   specific loan payments at issue. The government’s response is emblematic of its broad-brush,
20   “seize everything first, and come up with a generic justification later” approach here.
21          To the extent the government relies on a commingling theory, that too is insufficient to
22   support a finding of probable cause for the reasons explained in Defendant’s Motion and above
23   in Part II.B. See Brunst Decl., Exh. M (Dkt. 1366-15) (showing that Ferrer’s payments on the
24   domestic and foreign loans were made and accounted for separately). Nor does that argument
25   address the foreign loan payments that were paid directly to law firms to hold in trust. The mere
26   inclusion of a money laundering count in the indictment does not show probable cause that would
27   justify the pretrial restraint of these assets – not under Kaley (as the government claims, without
28   explanation) or any other case law.

                                            10
            REPLY IN SUPPORT OF MOTION TO PARTIALLY VACATE SEIZURE WARRANTS
                           AND RELEASE FUNDS TO DEFENDANTS
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 1            D.     A Conspiracy Charge Does Not Support the Blanket Seizure of Defendants’
                     Assets, Including Legitimate, Untainted Assets.
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              The government argues that because the Indictment includes a conspiracy count against
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     Defendants, there is probable cause to believe that “every dollar of Backpage’s revenue” was
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     involved in the criminal activity, simply because a large percentage of Backpage’s revenue may be
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     traceable to alleged criminal activity. See Gov’t Opp’n at 16. That is a gross misrepresentation of
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     the traceability requirement under forfeiture law. The government is “required to trace the seized
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     property directly to the offense giving rise to the forfeiture.” $8,221,877.16 in United States Currency,
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     330 F.3d 141, 158 (3d Cir. 2003). The government cannot simply cite to its own conspiracy charge
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     as a way to circumvent the traceability requirement and seize all of Defendants’ assets. In fact, the
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     Supreme Court has recently limited the extent to which the government can use conspiracy charges
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     as a basis for forfeiture. See Honeycutt, 137 S. Ct. at 1635 (limiting forfeiture to “property the
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     defendant himself actually acquired as a result of the crime” and holding that members of a
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     conspiracy are not jointly and severally liable for property that one conspirator, but not the other,
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     acquired from the crime); United States v. Thompson, 990 F.3d 680, 689-90 (9th Cir. 2021) (applying
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     Honeycutt to Section 981 and holding that forfeited property of a conspiracy has to be “traceable”
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     to the proceeds “derived” from the alleged crime, which “does not, and cannot under Honeycutt,
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     extend to all the criminal’s property, ‘traceable’ or not” because [s]uch an application would be
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     inconsistent with the common law conception of forfeiture”). Thus, proceeds derived from
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     legitimate business activity are not subject to forfeiture simply because they are associated with a
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     business charged with other criminal activity.
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     III.     CONCLUSION.
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              For the foregoing reasons, Defendants respectfully request this Court (1) partially vacate
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     the seizure warrants to the extent they restrain funds tied to the VMG Account and the attorney
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     retainer funds and (2) order the government to release any seized funds traceable to the foreign
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     loan payments or non-adult advertising proceeds.
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              REPLY IN SUPPORT OF MOTION TO PARTIALLY VACATE SEIZURE WARRANTS
                             AND RELEASE FUNDS TO DEFENDANTS
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 1   RESPECTFULLY SUBMITTED this 16th day of November 2021,
 2                                                             PROSKAUER ROSE LLP
 3                                                             s/ Seetha Ramachandran
                                                               Seetha Ramachandran
 4                                                             Asset Forfeiture Attorney for James Larkin
 5
                                                               BIENERT KATZMAN LITTRELL
 6                                                             WILLIAMS LLP
                                                               s/ Whitney Z. Bernstein
 7                                                             Thomas H. Bienert, Jr.
                                                               Whitney Z. Bernstein
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   Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures Manual (Oct. 2020) §
10 II(C)(3), Whitney Z. Bernstein hereby attests that all other signatories listed, and on whose behalf this filing is
11 submitted, concur in the filing’s content and have authorized its filing.

12
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              REPLY IN SUPPORT OF MOTION TO PARTIALLY VACATE SEIZURE WARRANTS
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 1                                    CERTIFICATE OF SERVICE
 2             I hereby certify that on November 16, 2021, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice
 4   of Electronic Filing to the CM/ECF registrants who have entered their appearance as counsel of
 5   record.
 6
                                                /s/ Toni Thomas
 7                                              Toni Thomas
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                                         CERTIFICATE OF SERVICE
